        Case 3:23-cv-03417-VC         Document 472         Filed 03/10/25     Page 1 of 40




BOIES SCHILLER FLEXNER LLP                          JOSEPH SAVERI LAW FIRM, LLP
David Boies (pro hac vice)                          Joseph R. Saveri (SBN 130064)
333 Main Street                                     601 California Street, Suite 1505
Armonk, NY 10504                                    San Francisco, California 94108
(914) 749-8200                                      (415) 500-6800
dboies@bsfllp.com                                   jsaveri@saverilawfirm.com

LIEFF CABRASER HEIMANN &                            DICELLO LEVITT LLP
BERNSTEIN, LLP                                      Amy Keller (pro hac vice)
Rachel Geman (pro hac vice)                         10 North Dearborn Street, Sixth Floor
250 Hudson Street, 8th Floor                        Chicago, Illinois 60602
New York, New York 10013-1413                       (312) 214-7900
(212) 355-9500                                      akeller@dicellolevitt.com
rgeman@lchb.com
                                                    Matthew Butterick (SBN 250953)
CAFFERTY CLOBES MERIWETHER &                        1920 Hillhurst Avenue, #406
SPRENGEL LLP                                        Los Angeles, CA 90027
Bryan L. Clobes (pro hac vice)                      (323) 968-2632
135 S. LaSalle Street, Suite 3210                   mb@buttericklaw.com
Chicago, IL 60603
(312) 782-4880
bclobes@caffertyclobes.com

Counsel for Individual and Representative
Plaintiffs and the Proposed Class
(additional counsel included below)


                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,                              Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                     PLAINTIFFS’ NOTICE OF MOTION
   v.                                                AND MOTION FOR
                                                     PARTIAL SUMMARY JUDGMENT
META PLATFORMS, INC.,

                                     Defendant.




            PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                              CASE NO. 3:23-cv-03417-VC
         Case 3:23-cv-03417-VC                      Document 472                   Filed 03/10/25                Page 2 of 40




                                                 TABLE OF CONTENTS

TABLE OF CONTENTS ............................................................................................................. i

TABLE OF AUTHORITIES ..................................................................................................... iii

NOTICE OF MOTION AND MOTION ................................................................................. vii

MEMORANDUM OF POINTS AND AUTHORITIES........................................................... 1

FACTUAL BACKGROUND ...................................................................................................... 3

          I.        THE PARTIES....................................................................................................... 3

                    A.        Author Plaintiffs......................................................................................... 3

                    B.        Defendant Meta Platforms, Inc. ................................................................. 3

          II.       META HIGHLY VALUES BOOKS FOR LLM TRAINING AND
                    DEVELOPMENT .................................................................................................. 4

                    A.        Meta Quickly Identified Books as High-Quality LLM Training
                              Data. ........................................................................................................... 4

                    B.        Technical Experts Agree that Books Constitute High-Quality
                              Training Data. ............................................................................................ 5

          III.      AS META SCRAMBLED TO CATCH UP WITH ITS COMPETITORS,
                    IT RESORTED TO COPYING PIRATED BOOKS EN MASSE
                    WITHOUT PERMISSION. ................................................................................... 6

                    A.        Meta Initially Explored Using Pirated Databases But Deemed
                              Many of Them Too Risky. ......................................................................... 6

                    B.        Meta Briefly Tried To License Books But Quickly Abandoned
                              Those Efforts. ............................................................................................. 7

                    C.        Meta Abandoned Its Licensing Efforts After It Discovered It Could
                              Just Take the Copyrighted Books It Wanted from Pirated
                              Databases Without Paying for Them. ........................................................ 8

                    D.        To Expedite the Pace of Acquisition, Meta Resorted To Torrenting
                              Massive Quantities of Copyrighted Works. ............................................. 11

          IV.       META’S UNLAWFUL COPYING HARMED PLAINTIFFS ........................... 15

                    A.        Stealing Books Harms Authors. ............................................................... 15

                    B.        Meta Deprived Plaintiffs of the Opportunity To Sell and License
                              Their Books.............................................................................................. 16

                    C.        Meta Has Benefited Significantly from Acquiring and Training
                              Llama on Pirated Books. .......................................................................... 17


                 PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                                             CASE NO. 3:23-cv-03417-VC
                                                                      i
          Case 3:23-cv-03417-VC                       Document 472                  Filed 03/10/25               Page 3 of 40



LEGAL STANDARD ................................................................................................................ 17

ARGUMENT .............................................................................................................................. 18

          V.         META COMMITTED DIRECT COPYRIGHT INFRINGEMENT AS A
                     MATTER OF LAW ............................................................................................. 18

                     A.         Plaintiffs Own Valid Copyrights for Each of Their Copyrighted
                                Books. ...................................................................................................... 19

                     B.         Meta Copied Plaintiffs’ Copyrighted Books Without Permission........... 19

          VI.        META’S INITIAL REPRODUCTION OF PIRATED COPIES OF
                     PLAINTIFFS’ BOOKS IS NOT FAIR USE. ...................................................... 22

                     A.         Meta’s Unmitigated Piracy ...................................................................... 22

                     B.         Meta’s P2P File Sharing .......................................................................... 24

CONCLUSION .......................................................................................................................... 30




                PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                                                             CASE NO. 3:23-cv-03417-VC
                                                                      ii
          Case 3:23-cv-03417-VC                      Document 472                Filed 03/10/25              Page 4 of 40




                                               TABLE OF AUTHORITIES
                                                                                                                                Page(s)
Cases

A&M Recs., Inc. v. Napster, Inc.,
  239 F.3d 1004 (9th Cir. 2001) ........................................................................................... passim

Am. Geophysical Union v. Texaco Inc.,
  60 F.3d 913 (2d Cir. 1994)........................................................................................................ 21

Anderson v. Liberty Lobby, Inc.,
  477 U.S. 242 (1986) .................................................................................................................. 17

Andy Warhol Found. for Visual Arts, Inc. v. Goldsmith,
  11 F.4th 26 (2d Cir. 2021) ........................................................................................................ 15

Aquarian Found., Inc. v. Lowndes,
  127 F.4th 814 (9th Cir. 2025) ................................................................................................... 19

Atari Games Corp. v. Nintendo of Am., Inc.,
  975 F.2d 832 (Fed. Cir. 1992)................................................................................................... 22

Authors Guild v. Google,
  804 F.3d 202 (2d Cir. 2015)...................................................................................................... 28

BMG Music v. Gonzalez,
 430 F.3d 888 (7th Cir. 2005) ........................................................................................ 18, 24, 27

Campbell v. Acuff-Rose Music, Inc.,
  510 U.S. 569 (1994) ...................................................................................................... 23, 28, 29

Celotex Corp. v. Catrett,
  477 U.S. 317 (1986) .................................................................................................................. 18

Columbia Pictures Indus., Inc. v. Fung,
  710 F.3d 1020 (9th Cir. 2013) .................................................................................................. 19

Corbello v. Valli,
  974 F.3d 965 (9th Cir. 2020) .................................................................................................... 18

DRK Photo v. McGraw-Hill Glob. Educ. Holdings, LLC,
 870 F.3d 978 (9th Cir. 2017) .................................................................................................... 19

Elsevier Inc. v. www.Sci-Hub.org,
  2015 WL 6657363 (S.D.N.Y. 2015) ........................................................................................... 6

Folsom v. Marsh,
  9 F. Cas. 342 (C.C.D. Mass. 1841) ........................................................................................... 22



                 PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                   CASE NO. 3:23-cv-03417-VC
                                                                    iii
          Case 3:23-cv-03417-VC                       Document 472                Filed 03/10/25              Page 5 of 40




Glacier Films (USA), Inc. v. Turchin,
  896 F.3d 1033 (9th Cir. 2018) ............................................................................................ 26, 28

Google LLC v. Oracle Am., Inc.,
  593 U.S. 1 (2021) ...................................................................................................................... 22

Hachette Book Grp., Inc. v. Internet Archive,
  115 F.4th 163 (2d Cir. 2024) .................................................................................................... 28

Hachette Book Grp., Inc. v. Internet Archive,
  664 F. Supp. 3d 370 (S.D.N.Y. 2023)....................................................................................... 21

Harper & Row Publishers, Inc. v. Nation Enters.,
  471 U.S. 539 (1985) ............................................................................................................ 22, 23

Hotaling v. Church of Jesus Christ of Latter-Day Saints,
  118 F.3d 199 (4th Cir. 1997) .................................................................................................... 26

In re Aimster Copyright Litig.,
   334 F.3d 643 (7th Cir. 2003) .................................................................................................... 27

In re DMCA § 512(h) Subpoena to Twitter, Inc.,
   608 F. Supp. 3d 868 (N.D. Cal. 2022) .................................................................................. 3, 27

Infinity Broadcast Corp. v. Kirkwood,
   150 F.3d 104 (2d Cir. 1998)...................................................................................................... 29

Los Angeles News Serv. v. KCAL-TV Channel 9,
  108 F.3d 1119 (9th Cir. 1997) .................................................................................................. 22

Los Angeles News Serv. v. Reuters Television Int'l Ltd.,
  149 F.3d 987 (9th Cir. 1998) .................................................................................................... 29

Marcus v. Rowley,
 695 F.2d 1171 (9th Cir. 1983) .................................................................................................. 29

Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd.,
 545 U.S. 913 (2005) ............................................................................................................ 24, 26

Perfect 10, Inc. v. Amazon.com,
  508 F.3d 1146 (9th Cir. 2007) ............................................................................................ 23, 26

Range Rd. Music, Inc. v. East Coast Foods, Inc.,
  668 F.3d 1148 (9th Cir. 2012) ............................................................................................ 18, 19

Rearden LLC v. The Walt Disney Co.,
  2024 WL 3956318 (N.D. Cal. Aug. 26, 2024) ......................................................................... 19




                 PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                   CASE NO. 3:23-cv-03417-VC
                                                                     iv
          Case 3:23-cv-03417-VC                        Document 472                 Filed 03/10/25               Page 6 of 40




Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led Zeppelin,
  952 F.3d 1051 (9th Cir. 2020) .................................................................................................. 18

SOFA Entm’t, Inc. v. Dodger Prods., Inc.,
  709 F.3d 1273 (9th Cir. 2013) .................................................................................................. 22

Sony BMG Music Entm’t v. Tenenbaum,
  672 F. Supp. 2d 217 (D. Mass. 2009) ................................................................................ passim

Sony Corp. of Am. v. Universal City Studios,
  464 U.S. 417 (1984) .................................................................................................................. 30

Stewart v. Abend,
   495 U.S. 207 (1990) .................................................................................................................. 23

Thomson Reuters Enter. Ctr. GMBH v. Ross Intelligence, Inc.,
  2025 WL 458520 (D. Del. Feb. 11, 2025) .......................................................................... 18, 28

UMG Recordings, Inc. v. MP3.Com, Inc.,
 2000 WL 710056 (S.D.N.Y. June 1, 2000) ................................................................................ 1

UMG Recordings, Inc. v. MP3.Com, Inc.,
 92 F. Supp. 2d 349 (S.D.N.Y. 2000)......................................................................................... 29

Unicolors, Inc. v. Urb. Outfitters, Inc.,
  853 F.3d 980 (9th Cir. 2017) .................................................................................................... 21

United States v. Slater,
  348 F.3d 666 (7th Cir. 2003) ........................................................................................ 22, 23, 24

Warner Bros. Records v. Payne,
 2006 WL 2844415 (W.D. Tex. July 17, 2006) ......................................................................... 26

Statutes

17 U.S.C. § 101 ............................................................................................................................. 28

17 U.S.C. § 106 ......................................................................................................................... 3, 18

17 U.S.C. § 106(1) ........................................................................................................................ 21

17 U.S.C. § 107 ....................................................................................................................... 21, 22

17 U.S.C. § 410(c) ........................................................................................................................ 19

Rules

Fed. R. Civ. P. 56(a) ............................................................................................................... 17, 21



                  PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                    CASE NO. 3:23-cv-03417-VC
                                                                       v
          Case 3:23-cv-03417-VC                          Document 472                  Filed 03/10/25               Page 7 of 40




Other Authorities

Davis, Cheryl L. & Kazi, Umair, Piracy of Books in the Digital Age, THE ROUTLEDGE
  COMPANION TO COPYRIGHT AND CREATIVITY IN THE 21ST CENTURY ...................................... 16

Hugo Touvron et al., LLaMA: Open and Efficient Foundation Language Models, META AI (Feb.
  27, 2023) ..................................................................................................................................... 7

Izal et al., Dissecting BitTorrent: Five Months in a Torrent’s Lifetime, INSTITUT EURECOM
   (2004) ........................................................................................................................................ 12

Johan Pouwelse et al., The Bittorrent P2P File-Sharing System: Measurements and Analysis,
  IPTPS (2005) ............................................................................................................................ 11

Leo Gao et al., The Pile: An 800GB Dataset of Diverse Text for Language Modeling, EleutherAI
  (Dec. 31, 2020) ........................................................................................................................... 7

Pierre N. Leval, Toward a F,
  air Use Standard, 103 HARV. L. Rev. 1105 (1990) ................................................................... 23

Sen. Hearing 108-920, Before the Comm. on the Judiciary, U.S. Senate (2003) ......................... 26




                  PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                    CASE NO. 3:23-cv-03417-VC
                                                                         vi
         Case 3:23-cv-03417-VC        Document 472       Filed 03/10/25      Page 8 of 40




                             NOTICE OF MOTION AND MOTION
         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

         PLEASE TAKE NOTICE that on May 1, 2025, at 10:00 a.m., or as soon thereafter as the

parties may be heard, before the Hon. Vince Chhabria, District Judge, U. S. District Court for the

Northern District of California, in Courtroom 4 – 17 th Floor, 450 Golden Gate Ave., San Francisco,

CA 94102, Richard Kadrey, Sarah Silverman, Junot Diaz, Andrew Sean Greer, David Henry

Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder, Lysa TerKeurst, Jacqueline

Woodson, and Christopher Farnsworth (collectively, “Plaintiffs”) 1 will and hereby do move this

Court for an order granting partial summary judgment against Defendant Meta Platforms, Inc.

(“Meta”).

         Plaintiffs seek an order pursuant to Federal Rule of Civil Procedure 56 granting their

Motion for Partial Summary Judgment, on the grounds that summary judgment is warranted

because uncontroverted evidence establishes: (1) Meta committed direct copyright infringement

under 17 U.S.C. § 501 of each of Plaintiffs’ Copyrighted Books asserted in the Third Amended

Consolidated Complaint, Dkt. 407; and (2) Meta’s reproduction of Plaintiffs’ Copyrighted Books

without permission, including through peer-to-peer file sharing, is not fair use under 17 U.S.C. §

107.

         Plaintiffs’ Motion for Partial Summary Judgment (“Motion”) is based on this Notice of

Motion and the accompanying Motion, all pleadings and papers in this action, and oral argument

of counsel.




1
    Plaintiffs Ta-Nehisi Coates and Christopher Golden do not seek summary judgment at this time.


              PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                CASE NO. 3:23-cv-03417-VC
                                                vii
       Case 3:23-cv-03417-VC          Document 472         Filed 03/10/25      Page 9 of 40




                    MEMORANDUM OF POINTS AND AUTHORITIES
       Under a straightforward application of existing copyright law, Meta is liable for massive

copyright infringement. By taking Plaintiffs’ books—along with millions of other copyrighted

works—from pirated online databases, 2 Meta “g[o]t for free something [it] would ordinarily have

to buy.” A&M Recs., Inc. v. Napster, Inc., 239 F.3d 1004, 1015 (9th Cir. 2001), as amended (Apr.

3, 2001) (affirming order that “downloading MP3 files does not transform the copyrighted work”

and is not fair use). And to more easily obtain this copyrighted data, Meta torrented it, using a

process by which Meta made available and distributed the copyrighted data to other online pirates.

       Meta could and should have paid to buy and license literary works from copyright holders

to train its Large Language Models (“LLMs”), named “Llama.” To train Llama to mimic human

expression when producing text output, Meta decided it needed a large corpus of high-quality text,

particularly books. Meta wanted books for their expressive content—the very subject matter

copyright law protects. But instead of paying rightsholders, Meta systematically took and fed entire

copies of pirated works into its LLMs to extract that expressive content without having to pay.

       Whatever the merits of generative artificial intelligence, or GenAI, stealing copyrighted

works off the Internet for one’s own benefit has always been unlawful. UMG Recordings, Inc. v.

MP3.Com, Inc., 2000 WL 710056, at *1 (S.D.N.Y. June 1, 2000) (the “mere fact” that copyright

infringement is “clothed in the exotic webbing of” a new technology “does not disguise its

illegality”) (Rakoff, J.). Meta knowingly used pirated databases to copy massive quantities of

copyrighted works—all of Plaintiffs’ Copyrighted Books, books written by hundreds of thousands

other authors, and even books authored by at least 10 Supreme Court justices who served in this

century, including Justice Breyer’s Making our Democracy Work and Justice Ginsburg’s My Own

Words.3 These pirated databases are illegal, routinely targeted by government enforcement


2
  Meta’s torrenting expert produced workpapers cataloguing the works Meta torrented from pirated
databases in 2024 alone, which reveal
                                                                   See Exs. 93-95. The text files are
far too large for e-filing, so Plaintiffs instead will provide them to the Court via digital courtesy
copy.
3
  Sourced from Ex. 93, meta_ia_downloads.


            PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                              CASE NO. 3:23-cv-03417-VC
                                                  1
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 10 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 11 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 12 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 13 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 14 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 15 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 16 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 17 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 18 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 19 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 20 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 21 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 22 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 23 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 24 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 25 of 40
      Case 3:23-cv-03417-VC          Document 472         Filed 03/10/25      Page 26 of 40



v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Summary judgment is also appropriate against a

party who “fails to make a showing sufficient to establish the existence of an element essential to

that party’s case, and on which that party will bear the burden of proof at trial.” Celotex Corp. v.

Catrett, 477 U.S. 317, 322 (1986).

       Courts may also grant summary judgment against a non-moving party’s affirmative

defenses. Relevant here, courts grant summary judgment against infringing defendants’ fair use

claims where “undisputed facts . . . push [a] case squarely into the legal realm” and the “issues . .

. are not ones of historical fact, intent, or factual prediction.” Thomson Reuters Enter. Ctr. GMBH

v. Ross Intelligence, Inc., 2025 WL 458520, at *7 (D. Del. Feb. 11, 2025) (Bibas, J.); see also

BMG Music v. Gonzalez, 430 F.3d 888, 890 (7th Cir. 2005) (affirming summary judgment against

fair use defense); Sony BMG Music Entm’t v. Tenenbaum, 672 F. Supp. 2d 217, 227 (D. Mass.

2009) (granting summary judgment against fair use defense).
                                          ARGUMENT

V.     META COMMITTED DIRECT COPYRIGHT INFRINGEMENT AS A MATTER
       OF LAW
       The Copyright Act protects a copyright owner’s “exclusive rights to,” inter alia,

“reproduce the copyrighted work in copies[.]” 17 U.S.C. § 106. To establish direct copyright

infringement, a plaintiff must demonstrate that the defendant violated one of the exclusive rights

protected under the statute by showing “(1) ownership of a valid copyright, and (2) copying of

constituent elements of the work that are original.” Range Rd. Music, Inc. v. East Coast Foods,

Inc., 668 F.3d 1148, 1153 (9th Cir. 2012); see also Skidmore as Tr. for Randy Craig Wolfe Tr. v.

Led Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020) (same). The second prong “contains two

separate components: ‘copying’ and ‘unlawful appropriation.’” Corbello v. Valli, 974 F.3d 965,

973-74 (9th Cir. 2020). “Copying can be demonstrated either through direct evidence or by

showing that the defendant had access to the plaintiff’s work and that the two works share

similarities probative of copying, while the hallmark of ‘unlawful appropriation’ is that the works

share substantial similarities.” Id. (cleaned up). When there is direct evidence of copying, “[a]




            PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                              CASE NO. 3:23-cv-03417-VC
                                                 18
      Case 3:23-cv-03417-VC           Document 472        Filed 03/10/25       Page 27 of 40



showing of ‘substantial similarity’” between the copyrighted work and the allegedly infringing

work “is irrelevant[.]” Range Rd. Music, 668 F.3d at 1154.

       As there is no dispute that Plaintiffs own valid copyrights of the Copyrighted Books and

undisputed direct evidence of Meta’s copying, the Court should grant summary judgment to

Plaintiffs on direct infringement due to Meta’s copying the Books from pirated databases.
       A. Plaintiffs Own Valid Copyrights for Each of Their Copyrighted Books.
       “A requisite element of any claim for copyright infringement is ownership of the copyright

at the time of the alleged infringement.” Rearden LLC v. The Walt Disney Co., 2024 WL 3956318,

at *3 (N.D. Cal. Aug. 26, 2024).31 Further, the Copyright Act provides: “[i]n any judicial

proceedings the certificate of a registration made before or within five years after first publication

of the work shall constitute prima facie evidence of the validity of the copyright and of the facts

stated in the certificate.” 17 U.S.C. § 410(c); Aquarian Found., Inc. v. Lowndes, 127 F.4th 814,

819 (9th Cir. 2025) (affirming reliance on registrations as prima facie evidence of plaintiff’s

authorship).

       Here, each Plaintiff owns the registered copyright for their Copyrighted Books, obtained

certificates of registration within five years after their first publication, and owned the copyrights

at the time of Meta’s infringement. Appendix A provides further information about the

registrations owned by each Plaintiff, as do Exhibits 1 and 96, which show the registration

certificates for the Copyrighted Books and select excerpts of the Copyrighted Books, respectively.
       B. Meta Copied Plaintiffs’ Copyrighted Books Without Permission.
       Courts consistently hold that downloading copyrighted works without permission is direct

infringement.32 Here, the record establishes that Meta downloaded full, unauthorized copies of

31
   A plaintiff may be either the legal or beneficial owner, such that an author who transferred their
exclusive rights under the Copyright Act in exchange for percentage royalties based on sales or
license fees retains standing to sue to protect their economic interest in the copyright. See DRK
Photo v. McGraw-Hill Glob. Educ. Holdings, LLC, 870 F.3d 978, 983, 988 (9th Cir. 2017).
32
   See, e.g., Napster, 239 F.3d at 1014 (“Napster users who download files containing copyrighted
music violate plaintiffs’ reproduction rights.”); Columbia Pictures Indus., Inc. v. Fung, 710 F.3d
1020, 1034 (9th Cir. 2013) (“downloading copyrighted material . . . violates the copyright holder’s
. . . right to reproduction”); see generally 4 Nimmer on Copyright § 13D.02 (“For instance,
photocopying the entirety of a novel is plainly actionable.”).


               PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                                 CASE NO. 3:23-cv-03417-VC
                                                  19
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 28 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 29 of 40
      Case 3:23-cv-03417-VC          Document 472         Filed 03/10/25      Page 30 of 40




VI.    META’S INITIAL REPRODUCTION OF PIRATED COPIES OF PLAINTIFFS’
       BOOKS IS NOT FAIR USE.
       Fair use is typically adjudicated through a four-factor analysis prescribed by statute. 17

U.S.C. § 107. That analysis is a mixed question of law and fact. E.g., SOFA Entm’t, Inc. v. Dodger

Prods., Inc., 709 F.3d 1273, 1277 (9th Cir. 2013). This mixed question often turns on the specific

conduct of the infringer. 17 U.S.C. § 107; Google LLC v. Oracle Am., Inc., 593 U.S. 1, 23-25

(2021). For this reason, the fair-use analysis often requires jury findings and is inappropriate for

full disposition at summary judgment. See Los Angeles News Serv. v. KCAL-TV Channel 9, 108

F.3d 1119, 1123 (9th Cir. 1997). Nevertheless, there exists a discrete set of infringing acts for

which courts have held fair use cannot apply as a matter of law. Two such acts are relevant here.

First, copying entire works from pirated databases to avoid compensating the rights holder cannot

be fair use. That is unmitigated piracy not subject to a fair-use defense. Second, acquiring and

sharing copyrighted works using P2P file sharing networks—a specific method of unmitigated

piracy resulting in distributing copyrighted material to unknown third parties—also cannot be fair

use. Meta engaged in both unprotected activities, warranting summary judgment to Plaintiffs.
       A. Meta’s Unmitigated Piracy
       For hundreds of years, courts have held that unmitigated piracy of copyrighted works, i.e.,

the duplication of entire works to avoid compensating rightsholders, is not fair use. See, e.g.,

Folsom v. Marsh, 9 F. Cas. 342, 342-45 (C.C.D. Mass. 1841) (explaining “it is as clear, that if

[defendant] thus cites the most important parts of the work, with a view, not to criticise, but to

supersede the use of the original work, and substitute the review for it, such a use will be deemed

in law a piracy”) (Story, J.); see, e.g., Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S.

539, 550 (1985) (“As Justice Story’s hypothetical illustrates, the fair use doctrine has always

precluded a use that ‘supersede[s] the use of the original.’”). That through-line has been applied to

Internet piracy. E.g., United States v. Slater, 348 F.3d 666, 669 (7th Cir. 2003). The

uncontroversial implication is that for fair use to apply, the work that was copied must have been

lawfully acquired in the first place. Atari Games Corp. v. Nintendo of Am., Inc., 975 F.2d 832, 843




            PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                              CASE NO. 3:23-cv-03417-VC
                                                 22
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 31 of 40
      Case 3:23-cv-03417-VC            Document 472         Filed 03/10/25       Page 32 of 40




        available software programs. The government also presented expert testimony on
        the harmful effect of Internet piracy on the potential market for the copyrighted
        work, though we think this point is fairly obvious. It is preposterous to think that
        Internet piracy is authorized by virtue of the fair use doctrine.
Id. at 669 (emphasis added and citations omitted).

        Other courts soundly reject the premise that infringement via online piracy can ever be

legitimized as fair use. In Tenenbaum, 672 F. Supp. 2d at 234 (D. Mass. 2009), the court observed

that digital downloading must be considered infringement, even if the owner of the copyrighted

material fails to implement safeguards against digital piracy, because the “implications” of failing

to do so “run exactly counter to the notion of fair use, which carves out an exception for uses that

redound to the public’s net benefit or do not reduce the incentives for creators.” The court

concluded that “[e]ncouraging piracy would do an immense disservice to the public purposes that

animate copyright, with little commensurate gain.” Id. This authority provides ample basis to hold

as a matter of law that Meta’s downloading pirated works for the express purpose of not paying

for copyrighted material cannot be fair use; see also infra at B.3 (outlining how even if the Court

did apply the fair use factors to such piracy, it would still fail as to P2P sharing as a matter of law).
        B. Meta’s P2P File Sharing
        The additional element of P2P file sharing provides a separate, though related, basis to find

as a matter of law that fair use does not apply to Meta’s infringement. Courts, including the Ninth

Circuit, hold that acquiring copyrighted works using P2P file sharing networks constitutes

infringement without a valid defense. Indeed, Plaintiffs have not identified a single case in which

a defendant successfully invoked fair use in relation to infringement by reproduction—whether

downloading or uploading—of pirated works via P2P networks. See e.g., Metro-Goldwyn-Mayer

Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 919 (2005); Napster, 239 F.3d at 1014-17 (users’

downloading and uploading music files from the Napster platform is not fair use); Gonzalez, 430

F.3d at 890 (affirming summary judgment against fair use defense for P2P piracy); Tenenbaum,

672 F. Supp. 2d at 227 (granting summary judgment against fair use defense for P2P piracy). There




             PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                               CASE NO. 3:23-cv-03417-VC
                                                   24
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 33 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 34 of 40
      Case 3:23-cv-03417-VC            Document 472         Filed 03/10/25      Page 35 of 40



Inc. v. Turchin, 896 F.3d 1033, 1043 (9th Cir. 2018) (dismissing as “baseless” the argument that

“downloading or uploading of the copyrighted work” via a P2P network “was permitted by the

doctrine of fair use”); Napster, 239 F.3d at 1014-17 (users’ downloading and uploading files from

Napster was not fair use).43 For that reason, most courts, including this Court, treat the use of P2P

networks to download or upload pirated IP as the open-and-shut case it is. See In re DMCA, 608

F. Supp. 3d at 879 (“In some cases, no analysis is required; it is obvious, for example, that

downloading and distributing copyrighted music via peer-to-peer systems does not constitute fair

use.”) (citations omitted) (Chhabria, J.); Gonzalez, 430 F.3d at 890 (affirming summary judgment;

download and retention of files from P2P network was not fair use, as “copiers such as [defendant]

cannot ask courts (and juries) to second-guess the market and call wholesale copying ‘fair use’”)

(Easterbrook, J.).

        Indeed, courts have noted that—as a practical matter—Grokster precludes any ruling that

P2P copying of pirated copyrighted material is fair use, regardless of any ultimate purpose or uses.

See e.g., Tenenbaum, 672 F. Supp. 2d at 227 (“Grokster’s secondary liability was premised on the

fact that file sharing constituted a form of primary infringement, rather than a fair use.”).

Accordingly, the Court should follow this long line of authority and hold that Meta has no fair use

defense for the Copyrighted Books that it undisputedly acquired using P2P file sharing networks.

                  3. Fair Use Cannot Protect Meta’s “Use” of Uploading Copyrighted
                     Material via P2P Sharing.
        Even if the Court decides that the fair use analysis applies to Meta’s unmitigated piracy

and use of torrenting to obtain pirated copies of Plaintiffs’ Copyrighted Books, it should

nevertheless grant summary judgment to Plaintiffs under the four fair use factors regarding Meta’s

decision to make available to other P2P pirates millions of copyrighted books in exchange for

faster download speeds. In determining whether a particular act of copying is a fair use, courts

43
   See also Tenenbaum, 672 F. Supp. 2d at 227 (“The defendant has offered the Court no legal
authority that file sharing of the kind he engaged in constitutes fair use. In fact, a number of courts,
including the Supreme Court, have found exactly the opposite.”) (citations omitted); In re Aimster
Copyright Litig., 334 F.3d 643, 645, 655 (7th Cir. 2003) (users that “swap computer files
containing [copyrighted] popular music” via internet-based services like Napster are “direct
infringers”) (Posner, J.).


             PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                               CASE NO. 3:23-cv-03417-VC
                                                  27
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 36 of 40
Case 3:23-cv-03417-VC   Document 472   Filed 03/10/25   Page 37 of 40
       Case 3:23-cv-03417-VC            Document 472           Filed 03/10/25       Page 38 of 40



download by others (and potentially uploading hundreds of copies of those Books) interferes with

(1) Plaintiffs’ sales of their books across all mediums (physical and electronic), and (2) Plaintiffs’

revenue opportunities in the well-established market for LLM training data. Proof of present or

future harm is proof

        that the particular use is harmful, or that if it should become widespread, it would
        adversely affect the potential market for the copyrighted work . . . . If the intended
        use is for commercial gain, that likelihood [of market harm] may be presumed. But
        if it is for a noncommercial purpose, the likelihood must be demonstrated.”

Napster, 239 F.3d at 1016 (quoting Sony Corp. of Am. v. Universal City Studios, 464 U.S. 417,

451 (1984) (emphasis in original)).

        Here, the Court may presume a likelihood of harm because Meta made the works available

to users who benefited from access to pirated books without paying for them. Napster, 239 F.3d

at 1018; see also Tenenbaum, 672 F. Supp. 2d at 228. Any “widespread” use of that sort naturally

leads to market harm. Courts thus credit the obvious deleterious market effect of P2P sharing of

copyrighted works. E.g., Hachette Book Grp. 115 F.4th at 190 (“[IA] copies the Works in full and

makes those copies available to the public in their entirety. . . . At least in this context, it is difficult

to compete with free.”); Gonzalez, 430 F.3d at 890 (“Music downloaded for free from the Internet

is a close substitute for purchased music; many people are bound to keep the downloaded files

without buying originals. . . . It is no surprise, therefore, that the only appellate decision on point

has held that downloading copyrighted songs cannot be defended as fair use”) (citing Napster, 239

F.3d 1004). Plaintiffs’ economic expert, Daniel F. Spulber, notes that “downloading illegal, pirated

copies of copyrighted works and then redistributing those same pirated copies en masse . . . to

other users risks reducing demand for those works in the legal market,” and “[s]uch conduct causes

concrete harm to authors by diminishing demand for their copyrighted works.” Ex. 76, ¶ 191.
                                             CONCLUSION
        For these reasons, Plaintiffs request that the Court grant Plaintiffs’ motion for partial

summary judgment.




             PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                               CASE NO. 3:23-cv-03417-VC
                                                     30
    Case 3:23-cv-03417-VC          Document 472   Filed 03/10/25      Page 39 of 40




                                              Dated: March 10, 2025

                                              By: /s/ Maxwell V. Pritt
                                                    Maxwell V. Pritt
LIEFF CABRASER HEIMANN &                      BOIES SCHILLER FLEXNER LLP
BERNSTEIN, LLP                                David Boies (pro hac vice)
Elizabeth J. Cabraser (SBN 083151)            333 Main Street
Daniel M. Hutchinson (SBN 239458)             Armonk, NY 10504
Reilly T. Stoler (SBN 310761)                 (914) 749-8200
275 Battery Street, 29th Floor                dboies@bsfllp.com
San Francisco, CA 94111-3339
(415) 956-1000                                Maxwell V. Pritt (SBN 253155)
ecabraser@lchb.com                            Joshua M. Stein (SBN 298856)
dhutchinson@lchb.com                          Margaux Poueymirou (SBN 356000)
rstoler@lchb.com                              44 Montgomery Street, 41st Floor
                                              San Francisco, CA 94104
Rachel Geman (pro hac vice)                   (415) 293-6800
250 Hudson Street, 8th Floor                  mpritt@bsfllp.com
New York, New York 10013-1413                 jstein@bsfllp.com
(212) 355-9500                                mpoueymirou@bsfllp.com
rgeman@lchb.com
                                              Jesse Panuccio (pro hac vice)
Kenneth S. Byrd (pro hac vice)                Jay Schuffenhauer (pro hac vice)
Betsy A. Sugar (pro hac vice)                 1401 New York Ave, NW
222 2nd Avenue South, Suite 1640              Washington, DC 20005
Nashville, TN 37201                           (202) 237-2727
(615) 313-9000                                jpanuccio@bsfllp.com
kbyrd@lchb.com                                jschuffenhauer@bsfllp.com
bsugar@lchb.com
                                              Joshua I. Schiller (SBN 330653)
JOSEPH SAVERI LAW FIRM LLP                    David L. Simons (pro hac vice)
Joseph R. Saveri (SBN 130064)                 55 Hudson Yards, 20th Floor
Cadio Zirpoli (SBN 179108)                    New York, NY 10001
Christopher K.L. Young (SBN 318371)           (914) 749-8200
Holden Benon (SBN 325847)                     jischiller@bsfllp.com
Aaron Cera (SBN 351163)                       dsimons@bsfllp.com
601 California Street, Suite 1505
San Francisco, California 94108               Interim Lead Counsel for Individual and
(415) 500-6800                                Representative Plaintiffs and the Proposed Class
jsaveri@saverilawfirm.com
czirpoli@saverilawfirm.com
cyoung@saverilawfirm.com
hbenon@saverilawfirm.com
acera@saverilawfirm.com

Matthew Butterick (SBN 250953)
1920 Hillhurst Avenue, #406
Los Angeles, CA 90027
(323) 968-2632
mb@buttericklaw.com


          PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                            CASE NO. 3:23-cv-03417-VC
     Case 3:23-cv-03417-VC         Document 472   Filed 03/10/25   Page 40 of 40




CAFFERTY CLOBES MERIWETHER &
SPRENGEL LLP
Bryan L. Clobes (pro hac vice)
Alexander J. Sweatman (pro hac vice)
Mohammed A. Rathur (pro hac vice)
135 S. LaSalle Street, Suite 3210
Chicago, IL 60603
(312) 782-4880
bclobes@caffertyclobes.com
asweatman@caffertyclobes.com
mrathur@caffertyclobes.com

DICELLO LEVITT LLP
Amy Keller (pro hac vice)
Nada Djordjevic (pro hac vice)
James Ulwick (pro hac vice)
10 North Dearborn Street, Sixth Floor
Chicago, Illinois 60602
(312) 214-7900
akeller@dicellolevitt.com
ndjordjevic@dicellolevitt.com
julwick@dicellolevitt.com

David Straite (pro hac vice)
485 Lexington Avenue, Suite 1001
New York, New York 10017
(646) 933-1000
dsraite@dicellolevitt.com

COWAN DEBAETS ABRAMS &
SHEPPARD LLP
Scott J. Sholder (pro hac vice)
CeCe M. Cole
60 Broad Street, 30th Floor
New York, NY 10004
(212) 974-7474
ssholder@cdas.com
ccole@cdas.com

Counsel for Individual and Representative
Plaintiffs and the Proposed Class




           PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
                                                             CASE NO. 3:23-cv-03417-VC
